        Case 1:23-cv-10511-WGY Document 202 Filed 09/20/23 Page 1 of 19




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA, et al.,

                     Plaintiffs,

   v.                                                    Civil Action No. 1:23-cv-10511-WGY

 JETBLUE AIRWAYS CORPORATION and
 SPIRIT AIRLINES, INC.,

                     Defendants.


                  PLAINTIFFS’ OPPOSITION TO DEFENDANTS’
              MOTION IN LIMINE TO EXCLUDE CERTAIN DOCUMENTS

        In the spring of 2022, and well before the spotlight of litigation, Spirit had a view of a

proposed merger between itself and JetBlue. It freely shared that view with the world, its

shareholders, and regulators. Spirit spent months attempting to convince shareholders to vote

against JetBlue’s attempt to acquire Spirit in a hostile takeover. In presentations to shareholders

that were ultimately filed with the Securities & Exchange Commission (“SEC”), Spirit admitted

that a JetBlue acquisition of Spirit would harm competition.

        Rather than square Spirit’s prior admissions about a JetBlue/Spirit transaction with its

crafted litigation narrative, Defendants now seek to exclude “at least 30 documents on Plaintiffs’

exhibit list.” Although Defendants’ motion did not identify these documents, Defendants




                                                  1
        Case 1:23-cv-10511-WGY Document 202 Filed 09/20/23 Page 2 of 19




informed Plaintiffs that they seek to exclude exhibits P0697,1 P0572,2 and P0570,3—which are

three Spirit investor presentations, dated May 5, May 23, and May 25, 2022, respectively—as

well as Spirit executive testimony about these and other unidentified exhibits.4 Dkt. 176 at 1

(hereafter, “Defs. Proxy MIL”).

        Defendants’ motion should be denied. Spirit’s executives, who owe the company and its

shareholders fiduciary duties, made clear and unequivocal statements about a variety of subjects

that are now at issue in this litigation. These investor presentations and testimony from Spirit

executives are highly probative contemporaneous evidence that speak directly to issues to be

decided by the Court, including, for example: that JetBlue is a “key competitor” of Spirit; that

the transaction is likely to result in higher fares and reduced capacity; that the “Spirit Effect”

(i.e., the downward effect on prices caused by Spirit’s entry into a market) has a larger and

longer-lasting impact on fares than the “JetBlue Effect”; and that Spirit had viable and aggressive

plans to grow if it were not acquired by JetBlue. These statements are all material to whether

JetBlue’s acquisition of Spirit violates Section 7 as its effect “may be substantially to lessen




1
 Ex. A, Spirit Airlines, Inc., SEC 425 Filing, “Rejected Proposal from JetBlue is Illusory and Not
Superior” (May 5, 2022).
2
 Ex. B, Spirit Airlines, Inc., SEC 425 Filing, “Creating America’s Most Competitive Ultra-Low Fare
Airline” (May 23, 2022).
3
 Ex. C, Spirit Airlines, Inc., SEC 425 Filing, “Spirit + Frontier: Creating America's Most Competitive
Ultra-Low Fare Airline” (May 25, 2022).
4
  On its face, Defendants’ motion in limine states that they seek to exclude “certain documents” but
Defendants’ motion does not identify the “at least 30 documents on Plaintiffs’ exhibit list” they seek to
exclude. Defs. Proxy MIL at 3 n.1. Based on Defendants’ representations made by email, on September 8,
2023, Plaintiffs’ understanding is that there are three exhibits that Defendants seek to exclude (P0697,
P0572, and P0570), all of which were publicly filed by Spirit with the SEC. Defendants’ motion also
seeks to exclude “certain deposition testimony of Messrs. Christie, Morgan, Gardner, Gorelik, and Gable
[sic].” Defs. Proxy MIL 3 n.1. Defendants’ reference to deposition testimony of “Mr. Morgan” is
puzzling; no one named Mr. Morgan was deposed in this case. Nor do Defendants explain how the
testimony of Ms. Alla Gorelik, a JetBlue employee, relates to Spirit’s purported “Proxy Fight Evidence.”


                                                    2
        Case 1:23-cv-10511-WGY Document 202 Filed 09/20/23 Page 3 of 19




competition, or to tend to create a monopoly.” 15 U.S.C. § 18. As such, the documents

containing these statements are admissible under Federal Rules of Evidence 402.

        Furthermore, each statement Plaintiffs seek to admit is a statement by Spirit, a party-

opponent in this case. See Fed. R. Evid. 801(d)(2). Those statements include testimony from

Spirit’s senior executives with personal knowledge—including its Chief Executive Officer and

the Chair of its Board of Directors. Those statements also include written materials created by

Spirit’s senior management, adopted by its Board of Directors, distributed to its shareholders,

and ultimately filed with the SEC. The testimony and written materials are all statements of a

party-opponent. The limitations of Rule 701 and Rule 704 do not apply to party-opponent

statements and therefore do not affect the Court’s analysis. See Life Plans, Inc. v. Sec. Life of

Denver Ins. Co. 2017 WL 106109, at *1 (N.D. Ill. Jan. 11, 2017) (“The statements come in as

party admissions, which are an exception to the hearsay rule, regardless of whether in the form of

opinions. This is the case even as to what might be considered mixed questions of fact and law

that are relevant to the ultimate issue, such as the validity of Plaintiff’s case against

Defendants.”).

        Rule 403 also does not bar introduction of statements at issue. It would not be a “waste of

time” to admit Spirit’s own contemporaneous statements acknowledging that Defendants’

proposed acquisition would harm competition. Indeed, such statements are likely most probative

of Spirit’s assessment of its own competitive role in the airline industry and the impact of the

proposed acquisition on the competition its presence engenders. Rule 403 does not provide

protection for litigants who would rather not explain away contemporaneous statements in favor

of carefully curated, subsequent statements. Plaintiffs, who bear the burden of proof, are entitled

to put on evidence that depicts a complete picture of the transaction at issue and Defendants, like




                                                   3
        Case 1:23-cv-10511-WGY Document 202 Filed 09/20/23 Page 4 of 19




any litigants, will have an opportunity to challenge Plaintiffs’ evidence through cross-

examination and their own witnesses. Far from a “waste of time,” the evidence at issue is central

to the issues to be decided by the Court and there is no basis in law or fact for Defendants to

attempt to shield this evidence and testimony from the Court.

                                         BACKGROUND

       Defendants’ motion seeks to exclude “at least 30 documents on Plaintiffs’ exhibit list,”

including three Spirit investor presentations, dated May 5, May 23, and May 25, 2022, and

related testimony. Because Defendants have not identified to Plaintiffs the additional documents

they seek to exclude, this brief focuses on exhibits P0697 (Ex. A to Declaration of Edward

Duffy), P0572 (Ex. B), and P0570 (Ex. C), and the deposition testimony of Messrs. Christie,

Gardner, Bartolotta, and Gabel. These documents were created after Spirit had agreed to merge

with another airline, Frontier, but while JetBlue was trying to persuade Spirit’s shareholders to

reject the Frontier deal in favor of JetBlue’s offer to acquire Spirit. During this “proxy fight,”

Spirit made several public statements that were critical of a potential acquisition of Spirit by

JetBlue to persuade its shareholders to reject that deal.

               1. Spirit’s May 5, 2022, Investor Presentation (P0697, Ex. A)

       During a May 5, 2022, earnings call, Spirit’s management used a presentation titled

“Rejected Proposal from JetBlue is Illusory and Not Superior” to explain why Spirit shareholders

should reject JetBlue’s proposal to acquire Spirit. See Ex. A. Spirit also submitted this May 5

presentation to the SEC. The presentation includes several relevant statements about the

acquisition challenged in this case, including:

      Statements about the competition at stake between Spirit and JetBlue, their comparative
       costs and fares, and JetBlue’s post-transaction plans to increase fares and reduce capacity.
       See, e.g., Ex. A at slide 2.



                                                  4
Case 1:23-cv-10511-WGY Document 202 Filed 09/20/23 Page 5 of 19
Case 1:23-cv-10511-WGY Document 202 Filed 09/20/23 Page 6 of 19
Case 1:23-cv-10511-WGY Document 202 Filed 09/20/23 Page 7 of 19
Case 1:23-cv-10511-WGY Document 202 Filed 09/20/23 Page 8 of 19
Case 1:23-cv-10511-WGY Document 202 Filed 09/20/23 Page 9 of 19
Case 1:23-cv-10511-WGY Document 202 Filed 09/20/23 Page 10 of 19
       Case 1:23-cv-10511-WGY Document 202 Filed 09/20/23 Page 11 of 19




Co., 2019 WL 3017657, at *5 (N.D. Cal. July 10, 2019); LifeScan Scotland, Ltd. v. Shasta

Techs., LLC, 2012 WL 2979028, at *6 n.1 (N.D. Cal. July 19, 2012); In re Hoopai, 2007 WL

2460762, at *3 (Bankr. D. Haw. Aug. 27, 2007).

       Rule 701, which sets forth requirements for admission of lay opinion testimony, does not

render otherwise admissible statements of a party-opponent inadmissible because such

statements enjoy “freedom . . . from the restrictive influences of the opinion rule and the rule

requiring firsthand knowledge[.]” Fed. R. Evid. 801(d)(2), advisory comm. notes (1972); see,

e.g., Brookover v. Mary Hitchcock Mem. Hosp., 893 F.2d 411, 415–18 (1st Cir. 1990) (holding

opinions of party’s employee were admissible, despite lack of personal knowledge regarding

facts that informed opinion); Integrated Commc’ns & Techs., Inc. v. Hewlett-Packard Fin. Servs.

Co., 478 F. Supp. 3d 126, 136 (D. Mass. 2020) (party-opponent statement was admissible, noting

Advisory Comm. Notes); Koon-to Pau v. Yosemite Park & Curry Co., 39 F.3d 1187, 1994 WL

609421 (Table), at *4 (9th Cir. 1994) (“Admissions of a party opponent need not be based upon

personal knowledge and are not subject to rule 701”). Therefore, statements of a party opponent

are admissible even when they are in the form of opinion, including opinions about an ultimate

issue. See Russell v. United Parcel Serv., Inc., 666 F.2d 1188, 1190 (8th Cir. 1981) (lay opinions

of party opponent that “went to the very heart of the issue before the jury” were admissible);

Donlin v. Aramark Corp., 162 F.R.D. 149, 150 (D. Utah 1995) (“[A]n admission [of a party

opponent] in opinion form may be admissible even if it is an opinion of law.”); 6 Handbook of

Federal Evidence § 801:15 (9th ed.) (“[Party] [a]dmissions in the form of an opinion are

competent, even if the opinion is a conclusion of law.”).

       Relevant evidence can be excluded under Rule 403 “if its probative value is substantially

outweighed by a danger of . . . unfair prejudice, confusing the issues, misleading the jury, undue




                                                 11
          Case 1:23-cv-10511-WGY Document 202 Filed 09/20/23 Page 12 of 19




delay, wasting time, or needlessly presenting cumulative evidence.” Fed. R. Evid. 403. However,

“Rule 403 does not mean that a court may exclude evidence that will cause delay regardless of

its probative value.” Sec’y of Lab. v. DeSisto, 929 F.2d 789, 795 (1st Cir. 1991). “If the evidence

is crucial, the judge would abuse his discretion in excluding it.” Id.; see also Specht v. Jensen,

832 F.2d 1516, 1527 (10th Cir. 1987) (defendant’s admission that “we screwed up and now

we’re in trouble” was admissible, not barred by Rule 403).

                                              ANALYSIS

   I.        Spirit’s Presentations and Related Testimony Are Relevant Party Admissions

          The three investor presentations and related testimony that Defendants identified are

plainly statements of a party opponent, which are admissible under Rule 801(d)(2) when offered

against Spirit. See, e.g., Bacou Dalloz, 344 F.3d at 29 & n.4. The presentations themselves are

corporate statements of Spirit itself, statements that Spirit adopted or believed to be true, and/or

statements of Spirit employees (up to and including the CEO) made within the scope and during

the duration of their employment. See Fed. R. Evid. 801(d)(2). Defendants do not contest these

points.

          The Spirit statements at issue are also highly probative of the core issues in this case,

including whether there is a “reasonable probability” that the effect of JetBlue acquiring Spirit

may be to substantially lessen competition. Brown Shoe Co. v. United States, 370 U.S. 294, 325

(1962) (construing Section 7 of the Clayton Act, 15 U.S.C. § 18); see also United States v.

Aetna, 240 F. Supp. 3d 1, 18 (D.D.C. 2017) (“[M]ergers with probable anticompetitive effects

are prohibited by the Clayton Act. The government need not prove the alleged anticompetitive

effects with certainty.” (citations omitted) (internal quotation marks omitted)). Indeed, the

statements make concessions about many of the issues commonly contested in merger cases,

including (1) the relative prices of the merging firms, (2) what the post-merger market would


                                                   12
         Case 1:23-cv-10511-WGY Document 202 Filed 09/20/23 Page 13 of 19




look like and whether the merger involves the elimination of a low-cost provider, (3) whether, in

the pre-merger world, one merging party’s low prices are constraining the ability of the other

merging party to raise price, (4) whether the merger may reduce capacity in the relevant markets,

and (5) whether the merger may increase prices in the relevant markets. See, e.g., FTC v. H.J.

Heinz Co., 246 F.3d 708, 719 (D.C. Cir. 2001); Aetna, 240 F. Supp. at 18, 42-47.

   II.      Rules 701 and 704 Do Not Bar Admission of Spirit’s Statements

         As a threshold matter, Rule 701 cannot bar admission of any of the statements at issue

because Rule 701 does not apply to statements of a party opponent. See, e.g., Fed. R. Evid.

801(d)(2), advisory committee’s notes to 1972 Proposed Rules. This makes sense because

admission of an adversary’s prior statements is “the result of the adversary system,” id., and

premised on the principle that “parties bear the lion’s share of responsibility for making or

breaking their own cases,” Fischer v. Forestwood Co., 525 F.3d 972, 985 (10th Cir. 2008)

(quoting 4 Mueller & Kirkpatrick, Federal Evidence § 8:44 (3d ed.2007)). For these reasons, the

concerns that animate Rule 701 do not apply to statements of a party opponent.

         The exemption of party admissions from “the opinion rule,” Fed. R. Evid. 801(d)(2),

advisory committee’s notes, extends to opinions about legal issues and ultimate issues in the

case. See, e.g., Russell, 666 F.2d at 1190; Donlin, 162 F.R.D. at 150. Therefore, Spirit statements

that opine about the likely economic effects of being acquired by JetBlue, whether the

challenged transaction would harm competition, whether the transaction is likely to be approved

by antitrust enforcers, or similar issues, are admissible under Rule 801(d)(2), regardless of

whether they satisfy the requirements of Rule 701. See, e.g., Ex. I at -05327977 (chairman of

Spirit board: “our view is that the proposed combination of JetBlue and Spirit lacks any realistic

likelihood of obtaining regulatory approval”); Ex. L at p.7 (Spirit’s CEO, calling JetBlue’s post-



                                                13
       Case 1:23-cv-10511-WGY Document 202 Filed 09/20/23 Page 14 of 19




acquisition plans “extremely problematic from a regulatory narrative perspective” because

“[y]ou’re taking seats out and raising fares, [and] that’s not a pro-consumer pro-competitive

argument”); Ex. M (Spirit press release: “JetBlue has already stated it would raise fares and

reduce capacity, exactly what the antitrust laws were designed to prevent.”). Defendants’

citations to cases excluding certain lay opinions are inapposite because they do not address

opinions of a party-opponent.8

           Moreover, Rule 701 is independently inapplicable to many of the Spirit statements at

issue because they are not “in the form of an opinion.” Fed. R. Evid. 701. For example,

statements by Spirit acknowledging that JetBlue fares are higher than Spirit fares, identifying

JetBlue as a “key competitor,” or observing that JetBlue has “vow[ed] to reduce capacity and

increase prices to consumers,” are statements of fact, not statements of opinion.

    III.      Rule 403 Does Not Bar Admission of Spirit’s Statements

           Rule 403 is not a basis to exclude any of the documents or testimony described above.

Defendants argue that the admission of Spirit’s statements would result in “mini-trials” because

these statements were made prior to JetBlue’s “additional agreements and concessions” reflected

in Defendants’ July 28, 2022, merger agreement. Defs. Proxy MIL 2-3, 8, 11-12.



8
  None of the cases Defendants cite for their Rule 701 argument address opinions in party-opponent
statements. See Defs. Proxy MIL 9-11; United States v. Sanabria, 645 F.3d 505, 516 (1st Cir. 2011)
(opinion of non-party witness); United States v. Meises, 645 F.3d 5, 16 (1st Cir. 2011) (opinion of
investigative agent); Lacaillade v. Loignon Champ-Carr, Inc., 2011 WL 5520942, at *2 (D.N.H. Nov. 14,
2011) (opinion of non-party witness); Gonzalez-Tomasini v. U.S. Postal Serv., 2022 WL 2816714, at *4
(D.P.R. July 19, 2022) (same); BanxCorp v. Bankrate, Inc., 2019 WL 2098842, at *2–3, n.4 (D.N.J. Mar.
21, 2019), (statements of party’s founder, but offered by the party itself); Adams v. New England
Scaffolding, Inc., 2015 WL 9412518, at *7-9 (D. Mass. Dec. 22, 2015) (expert opinion); Carrelo v.
Advanced Neuromodulation Sys., Inc., 777 F. Supp. 2d 315, 320-321 (D.P.R. 2011) (same); Chow v.
Zimny, 2014 WL 4964408, at *1 (same); Santiago Garcia v. Costco Wholesale Corp., 2020 WL 8575169,
at *6–7 (D.P.R. July 23, 2020) (same); In re Fresh Del Monte Pineapples Antitrust Litig., 2009 WL
3241401, at *12–13 (S.D.N.Y. Sept. 30, 2009) (same); Town of Lexington v. Pharmacia Corp., 2015 WL
1321457, at *6 (D. Mass. Mar. 24, 2015) (not applying Rule 801or excluding party testimony).


                                                  14
       Case 1:23-cv-10511-WGY Document 202 Filed 09/20/23 Page 15 of 19




       First, the transaction on which Spirit was commenting is substantially the same

transaction at issue in this case, and so no additional “context” is required to admit them into

evidence. Defendants contend otherwise, suggesting that Spirit changed its position on the deal

due to “additional agreements and concessions” by JetBlue, and that therefore Spirit’s earlier

statements were about an entirely “different deal.” Defs. Proxy MIL 3-4, 8. Not so. The

“concessions” that Defendants reference, but do not describe, included terms like a higher fee to

be paid to Spirit if the JetBlue deal were to fall apart and a purchase price paid entirely in cash

rather than being paid partially in stock, but such changes have nothing to do with whether the

proposed transaction would harm competition. All the facts that were the basis of Spirit’s prior

statements about the deal have remained the same: JetBlue is a higher-fare, higher-cost airline

seeking to acquire a lower-fare, lower-cost airline; JetBlue intends to retrofit Spirit planes to

match JetBlue’s seating configuration; and JetBlue’s acquisition of Spirit would reduce capacity

and increase fares for passengers who fly on Spirit routes.

       Moreover, as a public company, Spirit must present what it believes to be truthful

statements to investors and potential investors, a fact Spirit’s senior leadership has readily

acknowledged. See, e.g., Ex. D, Christie Lit. Dep. Tr. 166:21-23; Ex. K, Gabel CID Dep. Tr.

35:20-36:6 (agreeing that Spirit’s process for ensuring accurate statements is effective and that

when Spirit makes a public statement, that statement is true to the best of Spirit’s knowledge). As

a way to exclude clearly relevant, probative, and damaging statements, Defendants’ Motion

suggests statements made to investors as factual from April to July 2022, were, in fact, “evidence

or argument concerning opinions that Spirit offered . . . regarding antitrust objections that might

be raised by the Department of Justice (“DOJ”) if JetBlue acquired Spirit.” Defs. Proxy MIL at

1. As described above, however, the statements in these documents and the accompanying




                                                 15
       Case 1:23-cv-10511-WGY Document 202 Filed 09/20/23 Page 16 of 19




testimony go to issues that are at the heart of the present case and were presented to Spirit’s

investors as factual. Spirit executives are free to explain at trial why their persistent concerns

about the JetBlue deal suddenly vanished or were not, in fact, true. Indeed, far from being a

“waste of time,” understanding why Spirit reversed course on the JetBlue acquisition would

provide the Court a complete picture of Spirit’s incentives, biases, and credibility.

       Second, admission of Spirit’s 2022 statements explaining why it opposed a JetBlue-Spirit

deal is essential, not wasteful. The fact that Defendants claim to need “many hours” to try to

explain why Spirit made so many damning admissions is further argument in support of their

admission, not exclusion. That is, the fact that tortured explanations and hand-waving may be

necessary for the Defendants to justify their made-for-the-courtroom explanation only suggests

that perhaps Spirit’s initial assessment to its shareholders was the right one. Moreover, Rule 403

“requires a balance of probative value against the negative consequences of using a particular

piece of evidence,” and when “evidence is crucial, the judge would abuse his discretion in

excluding it.” DeSisto, 929 F.2d at 795-796. As explained above, the Spirit admissions at issue

are crucial because they go to the heart of this case: competition in the relevant markets; quantity

and price effects of the proposed acquisition; an analysis of the “JetBlue Effect” and the “Spirit

Effect”; and the viability of Spirit’s standalone growth projections, among others. The cases

Defendants marshal in support of their Rule 403 argument are inapposite because none excluded

highly relevant evidence like the statements at issue here. See, e.g., In re Fin. Oversight & Mgmt.

Bd. for Puerto Rico, 2019 WL 4723730, at *2 (D.P.R. July 29, 2019) (excluding evidence

“outside of the evidentiary parameters that the Court has . . . set,” which limited its probative




                                                  16
        Case 1:23-cv-10511-WGY Document 202 Filed 09/20/23 Page 17 of 19




value). Further, many of the cases Defendants cite were jury trials, which raise concerns under

Rule 403 that do not apply when the Court is the finder of fact.9

        Finally, all these statements could be properly used at trial to impeach any Spirit witness

who testifies contrary to them, as Plaintiffs expect Spirit witnesses to do. See, e.g., United States

v. Meserve, 271 F.3d 314, 320 (1st Cir. 2001) (“a witness’s credibility may be impeached by

asking him about prior inconsistent statements”). That these statements can be used for

impeachment only underscores why they are also admissible as substantive evidence: they are

statements of a party opponent. And because these statements can be used for impeachment, it is

unavoidable that the stark inconsistency of Spirit’s prior statements with its current position will

be aired at trial.

                                          CONCLUSION

        For the foregoing reasons, Plaintiffs respectfully request that the Court deny Defendants’

motion in limine to exclude certain documents.




9
 See BoDeans Cone Co. v. Norse Dairy Sys., LLC, 678 F. Supp. 2d 883, 895 (N.D. Iowa 2009), Ostler v.
Codman Rsch. Grp., 241 F.3d 91, 96 (1st Cir. 2001); Park W. Radiology v. CareCore Nat. LLC, 675 F.
Supp. 2d 314, 325 (S.D.N.Y. 2009); Lund v. Henderson, 807 F.3d 6, 11-12 (1st Cir. 2015).


                                                 17
      Case 1:23-cv-10511-WGY Document 202 Filed 09/20/23 Page 18 of 19




Dated: September 20, 2023        Respectfully submitted,

                                 /s/ Edward W. Duffy
                                 Edward W. Duffy
                                 Arianna Markel
                                 Stephanie E. Pearl
                                 John J. DiMarco
                                 U.S. Department of Justice, Antitrust Division
                                 450 Fifth Street, NW, Suite 8000
                                 Washington, DC 20530
                                 Phone: (202) 812-4723
                                 Facsimile: (202) 307-5802
                                 E-mail: edward.duffy@usdoj.gov


                                 /s/ William T. Matlack
                                 William T. Matlack (MA Bar No. 552109)
                                 Office of the Attorney General
                                 One Ashburton Place, 18th Floor
                                 Boston, MA 02108
                                 Telephone: (617) 727-2200
                                 Email: William.Matlack@mass.gov


                                 /s/ C. William Margrabe
                                 C. William Margrabe (pro hac vice)
                                 Assistant Attorney General
                                 Office of the Attorney General
                                 400 6th Street NW, Suite 10100
                                 Washington, DC 20001
                                 Telephone: (202) 727-6294
                                 Email: will.margrabe@dc.gov


                                 Attorneys for the United States of America, the
                                 Commonwealth of Massachusetts, and the District of
                                 Columbia, and on behalf of all Plaintiffs




                                      18
       Case 1:23-cv-10511-WGY Document 202 Filed 09/20/23 Page 19 of 19




                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document, which was filed with the Court through the

CM/ECF system, will be sent electronically to all registered participants as identified on the

Notice of Electronic Filing.

                                           /s/ Edward W. Duffy
                                           Edward W. Duffy
                                           U.S. Department of Justice, Antitrust Division
                                           450 Fifth Street, NW, Suite 8000
                                           Washington, DC 20530
                                           Phone: (202) 812-4723
                                           Facsimile: (202) 307-5802
                                           E-mail: edward.duffy@usdoj.gov




                                                19
